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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
ZURICH AMERICAN INSURANCE COMPANY as
subrogee of DSM HOLDING COMPANY INC.,

                                Plaintiff,
                                                        CIVIL ACTION NO.: 19 Civ. 05781 (ALC) (SLC)
         against
                                                                            ORDER
ATLANTIC LOGISTICS SERVICES INC., LANDSTAR
RANGER, INC., and ANCHOR EXPRESS LLC

                                Defendants.


SARAH L. CAVE, United States Magistrate Judge:

         On September 22, 2020, the parties filed a letter notifying the Court of their agreement

to settle. (ECF No. 47). In response, the Court terminated all remaining deadlines and

conferences and directed the parties to file a Stipulation of Dismissal by Friday, October 23, 2020.

(ECF No. 48). The parties have not done so. The parties are directed to file a Stipulation of

Dismissal or a Joint Status Report by Tuesday, November 10, 2020.


Dated:             New York, New York
                   October 27, 2020

                                                     SO ORDERED


                                              _________________________
                                              SARAH L. CAVE
                                              United States Magistrate Judge
